                                           Case 3:17-cv-06884-SK Document 20 Filed 04/20/18 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    S.P.W.,                                             Case No. 17-cv-06884-SK
                                   8                   Plaintiff,
                                                                                            ORDER DISMISSING PLAINTIFF'S
                                   9              v.                                        CLAIM FOR MONELL LIABILITY
                                  10    CITY OF OAKLAND, et al.,
                                                                                            Regarding Docket No. 14
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          On March 21, 2018, Defendant City of Oakland filed a motion to dismiss Plaintiff’s claim

                                  14   for Monell liability. (Dkt. 14.) The Plaintiff’s response was due by April 4, 2018; however no

                                  15   opposition brief was filed. In response to the Court’s order to show cause, Plaintiff filed a notice

                                  16   of non-opposition and advised the Court that it does not oppose Defendant’s motion. (Dkts. 18,

                                  17   19.) Therefore, Defendant’s Motion to Dismiss Plaintiff’s Monell claim is GRANTED.

                                  18          IT IS SO ORDERED.

                                  19   Dated: April 20, 2018

                                  20                                                    ______________________________________
                                                                                        SALLIE KIM
                                  21                                                    United States Magistrate Judge
                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
